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 HAWAII DISABILITY RIGHTS CENTER

                     IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

 HAWAII DISABILITY RIGHTS              Civil No. 06-00605 DAE-LEK
 CENTER, a Hawaii Corporation,

               Plaintiff,              PLAINTIFF HAWAII DISABILITY
                                       RIGHTS CENTER'S MEMORANDUM IN
 v.                                    OPPOSITION TO DEFENDANTS'
                                       MOTION TO DISMISS; CERTIFICATE
 SUSANNA F. CHEUNG, in her             OF SERVICE
 capacity as President and
 Chief Executive Officer of
 Opportunities for the                 Hearing:
 Retarded, Inc.,; and
 OPPORTUNITIES FOR THE                 DATE:    September 24, 2007
 RETARDED, INC., a Hawaii              TIME:    9:00 a.m.
 Corporation,                          JUDGE:   Hon. David A. Ezra

               Defendants.             NO TRIAL DATE SET



       PLAINTIFF HAWAII DISABILITY RIGHTS CENTER'S MEMORANDUM IN
        OPPOSITION TO DEFENDANTS' MOTION TO DISMISS (DOCKET #53)
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                         MEMORANDUM IN OPPOSITION

       Plaintiff Hawaii Disability Rights Center (HDRC), by and

 though its counsel of record, hereby submits its memorandum in

 opposition to Defendants Susanna F. Cheung, in her capacity as

 President and Chief Executive Officer of Opportunities for the

 Retarded, Inc., and Opportunities for the Retarded, Inc.'s (ORI)

 Motion to Dismiss, filed July 18, 2007. (Docket # 53).

 I.    STANDARD FOR RULING ON MOTION

       Defendants    bring     the   instant    motion   pursuant      to    Federal

 Rule of Civil Procedure 12(b)(1), for lack of subject matter

 jurisdiction, and Rule 12(b)(6), for failure to state a claim.

 (Docket # 53 at 2).

       "Standing is a legal issue subject to de novo review. In

 ruling on a FED. R. CIV. P. 12(b)(6) motion to dismiss for lack

 of standing, we must construe the complaint in favor of the

 complaining party." Arakaki v. Lingle, 477 F.3d 1048, 1056 (9th

 Cir. 2007) (citations omitted).

       "[U]nlike    a   Rule    12(b)(6)     motion,     in   a   Rule      12(b)(1)

 motion,    the    district    court    is     not   confined     by   the    facts

 contained in the four corners of the complaint-it may consider

 facts and need not assume the truthfulness of the complaint."

 Americopters, LLC v. F.A.A., 441 F.3d 726, 732 n.4 (9th Cir.

 2006) (citation omitted).




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 II.    ARGUMENT

        Defendants' motion is based entirely on its argument that

 the Developmental Disabilities Assistance and Bill of Rights Act

 (DD Act) does not provide HDRC with an implied private right of

 action.

        A plaintiff's standing to assert a particular claim has

 both   constitutional        and    prudential     limits.       Whether      Congress

 provides      any   plaintiff      with   a    right    of    action     falls   under

 prudential considerations:

        [T]he source of the plaintiff's claim to relief
        assumes critical importance with respect to the
        prudential rules of standing that, apart from Art.
        III's minimum requirements, serve to limit the role of
        the courts in resolving public disputes. Essentially,
        the standing question in such cases is whether the
        constitutional or statutory provision on which the
        claim rests properly can be understood as granting
        persons in the plaintiff's position a right to
        judicial relief. . . . Congress may grant an express
        right of action to persons who otherwise would be
        barred by prudential standing rules. Of course, Art.
        III's requirement remains: the plaintiff still must
        allege a distinct and palpable injury to himself, even
        if it is an injury shared by a large class of other
        possible litigants.

 Warth v. Seldin, 422 U.S. 490, 498-501, 95 S. Ct. 2197, 2205-06

 (1975) (footnote and citations omitted) (emphases added).1

        With    regard   to      whether       Congress       abrogated     prudential

 standing      requirements,     "'[t]he       central    inquiry       [is]   whether

 1
   Defendants do not argue that HDRC lacks constitutional standing
 to bring the instant action. HDRC therefore does not address
 that issue, but requests the opportunity to brief it should the
 issue arise.


                                           2
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 Congress intended to create, either expressly or by implication,

 a   private   cause   of    action.'"   Federation     of   African   American

 Contractors v. City of Oakland, 96 F.3d 1204, 1210-11 (9th Cir.

 1996) (quoting Touche Ross & Co. v. Redington, 442 U.S. 560,

 575, 99 S. Ct. 2479, 2489, 61 L. Ed. 2d 82 (1979)) (emphasis in

 original);    Howe v. Ellenbecker, 8 F.3d 1258, 1261 (8th Cir.

 1993) ("Because standing is determined by the specific claims

 presented,    whether      [the   plaintiffs]   have   standing   depends   on

 whether the statute at issue . . . creates an express or implied

 right of action.").

       In determining whether a federal statute creates a
       private right of action, congressional intent is the
       cornerstone of the analysis. The Supreme Court has
       established a four-factor test for discerning whether
       a statute creates a private right of action. Cort v.
       Ash, 422 U.S. 66, 95 S. Ct. 2080, 45 L. Ed. 2d 26
       (1975). Under that test, we must ask: (1) whether the
       plaintiff is a member of a class that the statute
       especially intended to benefit, (2) whether the
       legislature explicitly or implicitly intended to
       create a private cause of action, (3) whether the
       general purpose of the statutory scheme would be
       served by creation of a private right of action, and
       (4) whether the cause of action is traditionally
       relegated to state law such that implication of a
       federal remedy would be inappropriate. 422 U.S. at 78,
       95 S. Ct. 2080.

            The most important inquiry under Cort is the
       second factor: whether there is "any indication of
       legislative intent, explicit or implicit, either to
       create such a remedy or to deny one." Indeed, the
       three Cort questions that are not explicitly focused
       on   legislative  intent  are   actually  indicia  of
       legislative intent, such that the Cort test itself is
       focused entirely on intent. The four Cort factors,



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        thus, are merely targeted inquiries to guide                    our
        central project of discerning Congress's intent.

  Orkin v. Taylor, 487 F.3d 734, 738-39 (9th Cir. 2007) (citations

  omitted) (emphases added).

        "[E]ven where a statute is phrased in such explicit rights-

  creating terms, a plaintiff suing under an implied right of

  action still must show that the statute manifests an intent 'to

  create not just a private right but also a private remedy.'"

  Gonzaga University v. Doe, 536 U.S. 273, 284, 122 S. Ct. 2268,

  2276 (2002) (quoting Alexander v. Sandoval, 532 U.S. 275, 286,

  121 S. Ct. 1511 (2001)) (emphases in original).

        For the following reasons, Defendants are wrong that this

  Court does not have jurisdiction over HDRC's claims and wrong

  that HDRC does not standing to bring those claims.


        A.   This Court has jurisdiction             over      HDRC's     claims
        pursuant to 28 U.S.C. section 1331.

        As an initial matter, Defendants' argument that the Court

  does not have jurisdiction to determine HDRC's access authority

  pursuant   to   the   DD   Act,   or   pursuant   to   any   of   the    other

  protection and advocacy acts,2 flies in the face of the numerous

  cases wherein federal courts have determined that exact issue.3



  2
    "The DD Act, the PAMII [Protection and Advocacy for Mentally
  Ill Individuals] Act and the PAIR [Protection and Advocacy of
  Individual Rights] Act establish separate but largely parallel
  regimes   to  serve  particular  populations  of  people  with
  disabilities." Disability Rights Wisc., Inc. v. State of Wisc.

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        Moreover, contrary to Defendants' argument that "[t]he sole

  sources of federal court jurisdiction alleged in the complaint

  are a federal statute and regulations," (Docket # 54 at 11),

  HDRC alleges that this Court has jurisdiction over this action

  pursuant to, inter alia, 28 U.S.C. section 1331.

        Several    federal    courts   have    expressly    founded    their

  jurisdiction to consider a P&A's access claim, brought pursuant

  to DD Act, PAMII, or PAIR, on 28 U.S.C. section 1331:4



  Dept. of Public Instruction, 463 F.3d 719, 724 (7th Cir. 2006).
  These three Acts include similar provisions regarding a P&A's
  access authority and right to pursue legal remedies. See 29
  U.S.C. § 794e; 42 U.S.C. § 15043; 42 U.S.C. § 10805.
  3
    See Developmental Disabilities Advocacy Ctr., Inc. v. Melton,
  689 F.2d 281 (1st Cir. 1982); Prot. & Advocacy for Persons with
  Disabilities v. Mental Health & Addiction Servs., 448 F.3d 119
  (2d Cir. 2006); Connecticut Prot. & Advocacy for Persons with
  Disabilities v. Hartford Board of Edu., 464 F.3d 229 (2d Cir.
  2006); Pennsylvania Prot. & Advocacy, Inc. v. Houstoun, 228 F.2d
  423 (3d Cir. 2000); Virginia Office for Prot. & Advocacy v.
  Reinhard, 405 F.3d 185 (4th Cir. 2006); Mississippi Prot. &
  Advocacy Sys., Inc. v. Cotton, 929 F.2d 1054 (5th Cir. 1991);
  Tennessee Prot. & Advocacy, Inc. v. Wells, 371 F.3d 342 (6th
  Cir. 2004); Disability Rights Wisc. v. Wisconsin Dept. of Public
  Instruction, 463 F.3d 719 (7th Cir. 2006); Missouri Prot. &
  Advocacy Servs. v. Missouri Dept. of Mental Health, 447 F.3d
  1021 (8th Cir. 2006); Center for Legal Advocacy v. Earnest, 320
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  Hammons, 323 F.3d 1262 (10th Cir. 2003); Alabama Disabilities
  Advocacy Program v. J.S. Tarwater Dev. Ctr., 97 F.3d 492 (11th
  Cir. 1996).
        These are only some of the circuit court cases that have
  addressed a P&A's access authority under the DD Act, PAMII, and
  PAIR.
  4
    "The district courts shall have original jurisdiction of all
  civil actions arising under the . . . laws . . . of the United
  States." 28 U.S.C. § 1331.


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             [T]his court does have jurisdiction to hear this
        action pursuant to the provisions of 28 U.S.C. § 1331
        . . . precisely because this action does arise under
        the Development Disabilities Assistance and Bill of
        Rights Act, as amended, 42 U.S.C. § 6001 and the
        Protection and Advocacy for Individuals with Mental
        Illness Act of 1986, as amended, 42 U.S.C. § 10801, et
        seq.

  Wisconsin Coalition for Advocacy, Inc. v. Czaplewski, 131 F.

  Supp. 2d 1039, 1049 (E.D. Wis. 2001) (emphasis added)5; see also

  Equip for Equality, Inc. v. Ingalls Mem. Hosp., 329 F. Supp. 2d

  982, 985 (N.D. Ill. 2004) ("This Court has jurisdiction over

  this action pursuant to 28 U.S.C. § 1331 because this action

  arises under the federal United States Protection and Advocacy

  for   Individuals    with   Mental     Illness    Act.")   (emphasis   added);

  Protection    &     Advocacy     for    Persons     with     Disabilities    v.

  Armstrong,    266   F.   Supp.   2d    303,   307   (D.    Conn.   2003);   Iowa

  Protection and Advocacy Servs., Inc. v. Tanager Place , 404 F.

  Supp. 2d 1120, 1121 (N.D. Iowa 2005); Pennsylvania Protection

  and Advocacy, Inc. v. Houstoun, 1999 WL 1045152, *1 (E.D. Pa.

  1999); Advocacy, Inc. v. Brown Schools, Inc., 2001 WL 1910563,

  *1 (W.D. Tex. 2001); Wisconsin Coalition for Advocacy, Inc. v.

  State of Wisc. Dept. of Public Instruction, 407 F. Supp. 2d 988,

  989 (W.D. Wis. 2005).

        Moreover, even under Defendants' argument that "any lawsuit

  brought by HDRC must be brought under Hawaii law," (docket # 54

  5
    42 U.S.C. section 6001 et seq. is the predecessor act to the DD
  Act, 42 U.S.C. section 15001 et seq.


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  at   24),       this    Court    nonetheless   has    jurisdiction      pursuant     to

  section 1331. The Hawaii law to which Defendants refer is Hawaii

  Revised Statues section 333F-8.5, which provides:

         (a) The purpose of this section is to comply with
         federal law, which mandates the states to provide
         advocacy   services to  persons  with  developmental
         disabilities and mental illness in order to receive
         federal funds.

         (b) The governor may designate an entity or agency to
         carry out the purposes of this section.

         (c) The entity or agency designated by the governor
         shall have access to all records of any person with
         developmental disabilities or mental illness, to the
         extent required by federal law.

         (d) The entity or agency so designated by the governor
         shall provide those advocacy services to persons with
         developmental   disabilities  or  mental   illness  as
         required by federal law. All departments and agencies
         of the State and the judiciary shall cooperate with
         the entity or agency so designated to carry out the
         purposes of this section.

  (Emphases added).

         Thus, Hawaii law incorporates by reference the DD Act and

  other federal protection and advocacy acts, requiring any court

  that   considers         claims    such   as   HDRC's    to    construe   and    apply

  federal law. As the United States Supreme Court explained in

  Grable      &    Sons    Metal    Products,    Inc.     v.    Darue   Engineering     &

  Manufacturing, 545 U.S. 308, 125 S. Ct. 2363 (2005):

               Darue was entitled to remove the quiet title
           action if Grable could have brought it in federal
           district court originally, 28 U.S.C. § 1441(a), as a
           civil action "arising under the Constitution, laws,
           or treaties of the United States," § 1331. This


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         provision   for   federal-question  jurisdiction   is
         invoked by and large by plaintiffs pleading a cause
         of action created by federal law (e.g., claims under
         42 U.S.C. § 1983). There is, however, another
         longstanding, if less frequently encountered, variety
         of federal "arising under" jurisdiction, this Court
         having recognized for nearly 100 years that in
         certain cases federal question jurisdiction will lie
         over state-law claims that implicate significant
         federal issues. E.g., Hopkins v. Walker, 244 U.S.
         486, 490-491, 37 S. Ct. 711, 61 L. Ed. 1270 (1917).
         The doctrine captures the commonsense notion that a
         federal court ought to be able to hear claims
         recognized under state law that nonetheless turn on
         substantial questions of federal law, and thus
         justify resort to the experience, solicitude, and
         hope of uniformity that a federal forum offers on
         federal issues[.]

         . . .

         . . . [T]he question is, does a state-law claim
         necessarily raise a stated federal issue, actually
         disputed and substantial, which a federal forum may
         entertain without disturbing any congressionally
         approved balance of federal and state judicial
         responsibilities.

  Id. at 314, 125 S. Ct. at 2368 (emphases added).

        Last   year,   in   Empire   Healthchoice    Assurance,       Inc.   V.

  McVeigh, ___ U.S. ___, 126 S. Ct. 2121 (2006), the United State

  Supreme Court held that the case before it did not fall within

  the scope of "federal question" jurisdiction found in Grable &

  Sons: "Grable presented a nearly 'pure issue of law,' one 'that

  could be settled once and for all and thereafter would govern

  numerous tax sale cases.' In contrast, Empire's reimbursement

  claim, McVeigh's counsel represented without contradiction, is




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  fact-bound       and   situation-specific."       Id.     at   2137    (emphasis

  added).

         Here, Defendants do no dispute that HDRC is the designated

  P&A for the State of Hawaii, nor have they disputed that HDRC

  received     a   report   about    incidents     of   abuse    and    neglect   of

  developmentally disabled persons at Defendants' facilities.6 As

  such, there are no factual disputes in this case. There is only

  the purely legal question of HDRC's authority to access certain

  information regarding Defendants' clients.

         Because the answer to this purely legal question is found

  only    in   federal      law,    this   Court    has     "federal     question"

  jurisdiction over HDRC's claims pursuant to 28 U.S.C. section

  1331, even if Defendants are correct that HDRC's claims arise

  under Hawaii state law.

         B.   The fact that the DD Act             is   a   funding     statute   is
         irrelevant to HDRC's claims.

         The bulk of Defendants' arguments that the DD Act does not

  create a private right of action center on the premise that

  "[l]egislation enacted pursuant to Congress' spending authority

  seldom creates a privately enforceable right of action." (Docket

  # 54 at 15). From this premise, Defendants further argue that

  any private right of action arising under such legislation "has


  6
    Defendants most likely dispute that any incident of abuse or
  neglect has occurred at any of their facilities; however, that
  possible factual dispute is irrelevant to HDRC's claims.


                                           9
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  been implied only as against an entity which has voluntarily

  accepted the funds." (Docket # 54 at 17). Because Defendants are

  not recipients of any funds pursuant to the DD Act, Defendants

  argue, HDRC does not have an implied right of action against

  them. (Docket # 54 at 18).

        In his dissenting opinion in Jackson v. Birmingham Board of

  Education, 544 U.S. 167 125 S. Ct. 1497 (2005), Justice Thomas

  explained    the   reasoning     behind   the    legal   principal     that

  legislation enacted pursuant to Congress's spending power rarely

  creates a right of action:

        This Court has repeatedly held that the obligations
        Congress    imposes   on   States in    spending   power
        legislation must be clear. Such legislation is "in the
        nature   of    a  contract"   and funding    recipients'
        acceptance of the terms of that contract must be
        "voluntar[y] and knowin[g]." Pennhurst State School
        and Hospital v. Halderman, 451 U.S. 1, 17, 101 S. Ct.
        1531, 67 L. Ed. 2d 694 (1981); see also Barnes v.
        Gorman, 536 U.S. 181, 186, 122 S. Ct. 2097, 153 L. Ed.
        2d 230 (2002). For their acceptance to be voluntary
        and knowing, funding recipients must "have notice of
        their potential liability." Davis, 526 U.S., at 641,
        119 S. Ct. 1661. Thus, "[i]n interpreting language in
        spending legislation, we . . . 'insis[t] that Congress
        speak with a clear voice,'" id., at 640, 119 S. Ct.
        1661 (quoting Pennhurst, 451 U.S., at 17, 101 S. Ct.
        1531),    and     a    condition  must     be    imposed
        "unambiguously," ibid.; Gonzaga Univ. v. Doe, 536 U.S.
        273, 280, 122 S. Ct. 2268, 153 L.Ed.2d 309 (2002);
        Barnes, supra, at 186, 122 S. Ct. 2097.

  Id. at 190-191, 125 S. Ct. at 1514 (emphasis added).




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         Likewise in Ball v. Rodgers, ___ F.3d ___, 2007 WL 2034043

  (9th Cir. Jul. 17, 2007), the Ninth Circuit Court of Appeals

  explained:

         [I]n Pennhurst State School and Hospital v. Halderman
         the Court explained that in cases of "legislation
         enacted pursuant to the spending power, the typical
         remedy for state noncompliance with federally imposed
         conditions is not a private cause of action for
         noncompliance but rather action by the Federal
         Government to terminate funds to the State." 451 U.S.
         1, 28, 101 S. Ct. 1531, 67 L. Ed. 2d 694 (1981)
         (emphasis added).

  Id. at *6 (italicized emphasis in original; underscore emphasis

  added).

         The fundamental flaw in Defendants' argument, and, ergo,

  all    of   the     cases        on    which        Defendants      rely,     springs       from

  plaintiffs     attempting             to     enforce       compliance    with    a     federal

  statute against the recipients of federal funds. Under those

  circumstances,        a    court           will    find    that    Congress     provided      a

  private right of action only when it speaks with a clear voice

  and    when    it     unambiguously                imposes       conditions     upon    funds

  recipient.

         Here,   however,          Plaintiff          HDRC    is    the   recipient      of    the

  federal funds, pursuant to the DD Act. Moreover, in bringing the

  instant     action,       HDRC    asserts          that    Defendants     are   interfering

  with HDRC's attempts to comply with its mandate under the DD

  Act,   which      charges    HDRC           with    the    duty    of   "protect[ing]       and




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  advocat[ing]      the   rights   of   individuals    with     developmental

  disabilities[.]" 42 U.S.C. § 15043(a)(1).

        As the court in Manley v. Horsham Clinic, 2001 WL 894230

  (E.D. Pa. 2001), observed, a mentally ill person does not have

  the   authority    to   pursue   remedies   under   the     Protection   and

  Advocacy for Mentally Ill Individuals (PAMII) Act; it is a P&A

  that possesses that authority:

        It is the state-established systems then and not
        individuals that are the subject of this section of
        the PAMIIA. In other words the plain language of §
        10805(a)(1)(c) indicates that its provisions apply to
        state agencies that are properly constituted under the
        PAMIIA. It is these agencies that are entrusted with
        pursuing remedies on behalf of individuals and there
        is nothing in § 10805(a)(1)(c) that might provide
        plaintiff with a direct private right of action.

  Id. at *8 (E.D. Pa. 2001) (emphases added).

        As such, the very premise of Defendants' argument regarding

  funding statutes, and every case to which Defendants cite in

  that regard, are completely irrelevant.

        Moreover, to the extent that Defendants' arguments are at

  all relevant to the instant case, the mere fact that the DD Act

  is a funding statute is not dispositive. Although the Court in

  Pennhurst State School and Hospital v. Halderman, 451 U.S. 1,

  101 S. Ct. 1531 (1981), held that the Bill of Rights section of

  the prior version of the DD Act did not include a private right

  of action, several courts thereafter found that other sections

  of the prior Act do, indeed, include a private right of action.


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  See Mihalcik v. Lensink, 732 F. Supp. 299, (D. Conn. 1990);

  Gieseking v. Schafer, 672 F. Supp. 1249 (W.D. Mo. 1987); Martin

  v. Voinovich, 740 F. Supp. 1175 (S.D. Ohio 1993); Nicoletti v.

  Brown, 740 F. Supp. 1268 (N.D. Ohio 1987).

        Thus, if the question of whether the DD Act is even at all

  relevant,    that    question      must     be   answered          by    looking    at    the

  section under which HDRC brings its claim: 42 U.S.C. section

  15043. Moreover, regardless of whether one couches the question

  of   whether   Congress      intended       to   include       a    private       right    of

  action in the DD Act as an express or implied right, it is

  beyond cavil that Congress did so intend.

        C.   Congress created an express private right of action
        for state-designated P&As.

        Congress   charged      P&As    such       as    HDRC    with       certain     duties

  under the DD Act. The Act requires that, in exchange for receipt

  of   federal   funds,    a   P&A     will      be     charged      with     the    duty    of

  protecting     and    advocating        the      rights       of        individuals      with

  developmental        disabilities.        42        U.S.C.     §        15043(a)(1).       To

  effectuate this duty, a P&A must have the authority to undertake

  numerous acts, including the authority "to investigate incidents

  of   abuse     and     neglect     of     individuals           with        developmental

  disabilities[.]" 42 U.S.C. § 15043(a)(2)(B).

        In order to carry out its investigative duties, the P&A

  must also "have access at reasonable times to any individual



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  with     a      developmental         disability"       and,     under          particular

  circumstances, "have access to all records" "of any individual

  with a developmental disability[.]" 42 U.S.C. §§ 15043(a)(2)(H),

  (I).

          Moreover,    Congress     expressly        provided     P&As       a    remedy   to

  enforce their authority under the DD Act. One of the purposes of

  the DD Act is to establish "protection and advocacy systems in

  each State to protect the legal and human rights of individuals

  with    developmental         disabilities[.]"         42    U.S.C.    §       15001(b)(2)

  (emphasis added).

          The   purpose    of    Part    C    of   the   Act     "is    to    provide      for

  allotments to support a protection and advocacy system (referred

  to in this part as a 'system') in each State to protect the

  legal     and    human    rights       of    individuals        with       developmental

  disabilities in accordance with this part." 42 U.S.C. § 15041

  (emphasis added).

          To meet these purposes, section 15043(a)(2)(A)(i)--also in

  Part C of the Act--provides that                 P&As "shall":

          (A) have the authority to--

          (i)   pursue    legal,   administrative,   and   other
          appropriate remedies or approaches to ensure the
          protection of, and advocacy for, the rights of
          [individuals with developmental disabilities] within
          the State who are or who may be eligible for
          treatment, services, or habilitation, or who are being
          considered for a change in living arrangements, with
          particular attention to members of ethnic and racial
          minority groups[.]


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  42 U.S.C. § 15043(a)(2)(A)(i) (emphases added).

        In addition to this provision, 45 C.F.R. section 1386.25

  provides that allotments made pursuant to the DD Act:

        may be used to pay the otherwise allowable costs
        incurred by a Protection and Advocacy System in
        bringing lawsuits in its own right to redress
        incidents of abuse or neglect . . . impacting on
        individuals with developmental disabilities to obtain
        access to records and when it appears on behalf of
        named plaintiffs or a class of plaintiffs for such
        purpose.

  (Emphases added). Section 1386.21(c) provides in pertinent part:

        A Protection and Advocacy System shall not implement a
        policy or practice restricting the remedies which may
        be   sought   on   the   behalf  of  individuals  with
        developmental    disabilities   or  compromising   the
        authority of the Protection and Advocacy System (P&A)
        to pursue such remedies through litigation, legal
        action or other form of advocacy.

  (Emphases added).

        Based on these provisions, numerous courts have held that a

  state-appointed P&A:

        has standing to sue on its own behalf and on behalf of
        it constituents. See 42 U.S.C. § 15043(a)(2)(A)(i)
        (authorizing an Advocacy and Protection system to
        pursue legal, administrative, and other appropriate
        remedies    or   approaches    on    behalf  of    the
        developmentally disabled); Doe v. Stincer, 175 F.3d
        879, 886 (11th Cir. 1999) (holding that the Advocacy
        Center has standing to bring suit under Title 42,
        United States Code, Section 10801, et seq.).

  Advocacy Ctr. for Persons with Disabilities, Inc. v. Woodlands

  Estates Assoc., Inc., 192 F. Supp. 2d 1344, 1345-46 (M.D. Fla.

  2002) (emphases added);       see also    Ohio Legal Rights Serv. v.


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  Buckeye Ranch, Inc., 365 F. Supp. 2d 877, 883 (S.D. Ohio 2005)

  ("PAMII provides [P&A] systems with the independent authority to

  pursue legal remedies to ensure the protection of individuals

  with mental illness. This authority has led courts to conclude

  that   protection     and   advocacy    systems     have   standing       to    bring

  actions    for   declaratory    or     injunctive    relief      in   a   judicial

  forum.")    (citing     Protection      &    Advocacy      for    Persons         with

  Disabilities v. Armstrong, 266 F. Supp. 2d 303, 311-12 (D. Conn.

  2003)) (emphases added).

         In Risinger v. Concannon, 117 F. Supp. 2d 61 (D. Me. 2000),

  the court discussed the breadth of a P&A's standing under the DD

  Act, PAMII, and PAIR:

              In support of its claim of standing to sue on
         behalf of children who have mental health impairments,
         DRC has invoked provisions of three statutes: the
         federal Developmental Disabilities Assistance and Bill
         of Rights Act ("DDA"), 42 U.S.C. § 6042(a)(2)(A), the
         federal Protection and Advocacy for Mentally Ill
         Individuals Act ("PAMI"), 42 U.S.C. §§ 10805(a)(1)(B),
         (C), and the State of Maine's Protection and Advocacy
         for    Persons    with   Developmental   or    Learning
         Disabilities or Mental Illnesses Act, 5 M.R.S.A. §
         19505(3). The DDA requires states, as a condition of
         receiving federal financial assistance, to "have in
         effect a system to protect and advocate the rights of
         individuals    with  developmental  disabilities."   42
         U.S.C. § 6042(a)(1). The statute goes on to mandate
         that the "system must have the authority to pursue
         legal, administrative and other appropriate remedies
         or approaches to ensure the protection of, and
         advocacy for, the rights of such individuals within
         the State who are or who may be eligible for
         treatment, services, or habilitation, or who are being
         considered for a change in living arrangements, with
         particular attention to members of ethnic and racial


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        minority groups." 42 U.S.C. § 6042(a)(2)(A)(i). The
        PAMI   sets   forth   similar requirements for   the
        protection of individuals who have mental illnesses,
        see 42 U.S.C. § 10805(a)(1)(B), and also directs
        states to grant the system

             authority . . . to pursue administrative,
             legal, and other remedies on behalf of an
             individual who was a[n] individual with
             mental illness; and is a resident of the
             State; but only with respect to matters
             which occur within 90 days after the date of
             the discharge of such individual from a
             facility providing care or treatment.

        42 U.S.C. § 10805(a)(1)(B). . . . The parties do not
        dispute that Plaintiff DRC is the agency designated
        pursuant to this statutory scheme.

             These statutes grant standing to Plaintiff DRC to
        file claims on behalf of the minor Plaintiffs in this
        case. Federal courts interpreting the DDA and PAMI
        have uniformly concluded that the relevant provisions
        confer standing to sue on behalf of individuals with
        mental illness and developmental disabilities. See Doe
        v. Stincer, 175 F.3d 879, 885-86 (11th Cir. 1999)
        (holding that 42 U.S.C. § 10805 confers standing to
        bring suit on behalf of individuals with mental
        illness); Brown v. Stone, 66 F.Supp.2d 412, 422-23
        (E.D.N.Y. 1999) ("standing appears warranted" under 42
        U.S.C. § 10805); Tennessee Protection and Advocacy,
        Inc.   v.  Board   of   Education  of  Putnam   County,
        Tennessee, 24 F. Supp. 2d 808, 814 (M.D. Tenn. 1998)
        (finding implicit Congressional grant of standing "to
        advocacy groups to advocate for disabled individuals
        to the full extent permitted by Article III" in 42
        U.S.C. § 6041); Rubenstein v. Benedictine Hospital,
        790 F. Supp. 396, (N.D.N.Y. 1992) (finding standing
        under 42 U.S.C. § 10801, given its "broad remedial
        purposes" and "the statutory language apparently
        conferring a right upon entities such as DAI to pursue
        legal remedies"); Michigan Protection and Advocacy
        Service, Inc. v. Babin, 799 F. Supp. 695, 702 n.12
        (E.D. Mich. 1992) (finding in reference to both
        statutes that "[i]t was clearly the intention of
        Congress that the M.P.A.s and other similar advocacy
        groups represent and, if necessary, litigate on behalf
        of    individuals     suffering   from    developmental

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        disabilities"), affirmed on other grounds, 18 F.3d 337
        (6th Cir.1994); Protection and Advocacy, Inc. v.
        Murphy, 1992 WL 59100, *10 (N.D. Ill. 1992) ("Federal
        courts have uniformly found that protection and
        advocacy systems have standing to sue in their own
        name to protect the rights of injured developmentally
        disabled or mentally ill individuals."); Goldstein v.
        Coughlin,   83   F.R.D.   613,  614   (W.D.N.Y.  1979)
        (reasoning that "given the Congressional purpose to
        provide retarded persons with legal representation, as
        revealed in § 6012," state's designated advocacy group
        "need show no injury to itself in order to have
        standing in this action"). Given the broad remedial
        purposes of the DDA and PAMI, Plaintiff DRC's status
        as the designated advocacy group, and the specific
        language in 5 M.R.S.A. § 19505(3) regarding the
        ability to pursue legal remedies "on behalf of persons
        with disabilities," this Court likewise concludes that
        Plaintiff DRC has been granted standing to sue on
        behalf of the children in this case.

  Id. at 69-70 (emphases added).

        Here,   HDRC   brings   this    action    as   part   of   its   duty   "to

  ensure the protection of . . . the rights of [individuals with

  developmental    disabilities]       within    the   State[.]"   42    U.S.C.   §

  15043(a)(2)(A)(i). As such, HDRC is exercising the express right

  of action that Congress granted it, as the designated P&A system

  for the state of Hawaii. (Docket 01-1 ¶ 4).

        D.   Congress created an implied private right of action
        for state-designated P&As.

        Even if the Court does not conclude that section 15043

  includes an express right of action, reading that statute in its

  entirety leaves no doubt that Congress impliedly created such a

  right, given Congress's mandate that the state must appoint an

  effective P&A:


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                In order    for a State to receive an
                allotment   under subchapter II of this
                chapter-

                (1) the State must have in effect a system to
                protect and advocate the rights of persons with
                developmental disabilities;

        42 U.S.C. § 6042(a) (emphasis supplied). The district
        court properly used the adjectival form of "effect" to
        describe the barebones minimum required of the State
        of Mississippi in consideration of its annual receipt
        of significant amounts of federal dollars. . . . In
        the case at bar, by requiring an effective system the
        trial court did not create a substantive standard
        beyond the plain text of the statute.

        . . .

             The [DD] Act not only described the range of
        services to be provided by the protection and advocacy
        systems, it also states that the systems "must have
        the authority" to perform these services. The state
        cannot satisfy the requirements of the DDA by
        establishing a protection and advocacy system which
        has this authority in theory, but then taking action
        which prevents the system from exercising that
        authority. Defendants' restrictive practices have
        reduced MP & A's authority to the point that it can
        offer Boswell residents only a fraction of the
        services to which they are entitled.

             We are in full accord. The mandatory provisions
        of section 6042 relating to authority to investigate
        incidents of abuse and neglect are rendered nugatory
        by   the   Center's   restrictions   on   MP   &  A.   §
        6042(a)(2)(B). Similarly, MP & A is prevented from
        performing its statutory duty of establishing a
        grievance   procedure   for   clients   or   prospective
        clients. § 6042(a)(2)(D). The regulations are such
        that MP & A has virtually no access to clients not
        retained prior to the change in the regulations. Most
        importantly, the Center's regulations render the
        state's requirement to “have in effect a system to
        protect and advocate the rights of persons with
        developmental disabilities” comatose if not moribund.



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        § 6042(a)(2). The trial court did not err in finding a
        violation of the Act.

  Mississippi Protection & Advocacy Sys., Inc. v. Cotton, 929 F.2d

  1054, 1058-59 (5th Cir. 1991) (emphases added).

        Other courts have held likewise:

             Allowing   Advocacy   to    access   JPS  records
        concerning Sawin is not an accusation or indictment of
        JPS, but merely allows Advocacy to comply with a
        Congressional mandate. See Michigan Prot. & Advocacy
        Svc., Inc. v. Miller, 849 F. Supp. 1202, 1204. (W.D.
        Mich. 1994) (citing 42 U.S.C. § 10803). Further, at
        least some courts have considered it a service to the
        facilities who provide mental health services when
        abuse and neglect are uncovered and corrected. Ala.
        Disabilities Advocacy Program, 97 F.3d at 499.

             When a facility such as JPS denies or places
        restrictions on an advocacy agency's access to
        records,   the   mandatory   provisions   relating   to
        authority to investigate incidents of abuse and
        neglect are rendered nugatory. Mississippi Prot. &
        Advocacy Sys., Inc. v. Cotten, 929 F.2d 1054, 1059
        (5th Cir. 1991).8 This not only hampers redress of past
        and current abuse and neglect, but has a detrimental
        effect on the advocacy agency's future performance of
        its statutory mandate. Id. Advocacy must have the
        authority to pursue legal, administrative, and other
        appropriate remedies to ensure that the rights of the
        mentally ill are not violated. Id. See generally 42
        U.S.C. § 10805(a)(1). Timely access to records is
        essential for effective communication, Robbins v.
        Budke, 739 F. Supp. 1479, 1488 (D.N.M. 1990), and
        access to patient records is necessary for the P & A
        system to serve its clients, evaluate client concerns,
        and determine whether a client has a legal claim. Id.
             8
               The Fifth Circuit was applying the parallel
             provisions of 42 U.S.C. § 6042 because the case
             dealt with a developmentally disabled patient.
             See generally 42 U.S.C. § 6042 (providing for
             advocacy system to investigate cases of alleged
             abuse and neglect of developmentally disabled
             individuals), but Congress's enactment of PAMII
             in 1986 extended the same type of protections to

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              persons with mental illness. Cotten also dealt
              with physical access to the health care facility;
              however, the spirit of Cotten, as well as 42
              U.S.C. § 6042 and 42 U.S.C. § 10805, is an
              affirmation of the advocacy agency's right to
              access, whether it be physical access to patients
              or access to patient records. Compare 42 U.S.C. §
              6042 with 42 U.S.C. § 10805. See also Iowa Prot.
              & Advocacy Svcs., Inc. v. Gerard Treatment
              Programs,   L.L.C.,  152  F.Supp.2d   1150,  1166
              (N.D.Iowa 2001); Ariz. Ctr. for Disability Law,
              197 F.R.D. at 692.

  Advocacy Inc. v. Tarrant County Hosp. Dist., 2001 WL 1297688, *4

  (N.D. Tex. 2001) (emphases added); see also Georgia Advocacy

  Office v. Borison, 238 Ga. App. 780, 783, 520 S.E.2d 701, 704

  (Ga. Ct. App. 1999).

        Clearly, Congress could not have and did not intend to

  clothe    P&As   with   the   duty   of      protecting   and    advocating      for

  individuals      with   developmental      disabilities     by   way   of,    inter

  alia, conducting investigations into allegations of abuse and

  neglect of such individuals, but at the same time, foreclose any

  right    those   P&As   might   have      to   judicially   pursue     those     who

  interfere with that duty and authority.

        E.   Section 15044 provides further evidence of Congress's
        intent to create a private right of action for state-
        designated P&As.

        Another indication that Congress intended to provide P&As

  with both the right and the remedy to bring claims under the DD

  Act is section 15044(b)(1), which provides:




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         Legal action

         (1) In general

         Nothing in this subchapter shall preclude a [P&A]
         system from bringing a suit on behalf of individuals
         with developmental disabilities against a State, or an
         agency or instrumentality of a State.

  42 U.S.C. § 15044(b)(1) (emphases added).

         This section is significant because, as the United States

  Supreme Court explained in Gonzaga University, "Plaintiffs suing

  under § 1983 do not have the burden of showing an intent to

  create a private remedy           because § 1983 generally supplies a

  remedy    for   the    vindication       of     rights     secured    by   federal

  statutes." 536 U.S. at 284 (emphasis added). "But the initial

  inquiry--determining whether a statute confers any right at all-

  -is no different from the initial inquiry in an implied right of

  action case[.]" Id. at 285.

         Moreover,    the   Court    explained      in     City   of   Rancho    Palos

  Verdes, Cal. v. Abrams, 544 U.S. 113, 125 S. Ct. 1453 (2005),

  that   where    a   plaintiff     has   shown    that     Congress    intended     to

  create a private right of action:

         "there is [] a rebuttable presumption that the right
         is enforceable under § 1983." Blessing v. Freestone,
         520 U.S. 329, 341, 117 S. Ct. 1353, 137 L. Ed. 2d 569
         (1997). The defendant may defeat this presumption by
         demonstrating that Congress did not intend that remedy
         for a newly created right. See ibid.; Smith v.
         Robinson, 468 U.S. 992, 1012, 104 S. Ct. 3457, 82 L.
         Ed. 2d 746 (1984). Our cases have explained that
         evidence of such congressional intent may be found
         directly in the statute creating the right, or


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         inferred   from   the    statute's   creation   of   a
         "comprehensive enforcement scheme that is incompatible
         with individual enforcement under § 1983.” Blessing,
         supra, at 341, 117 S. Ct. 1353. See also Middlesex
         County Sewerage Authority v. National Sea Clammers
         Assn., 453 U.S. 1, 19-20, 101 S. Ct. 2615, 69 L. Ed.
         2d 435 (1981). "The crucial consideration is what
         Congress intended." Smith, supra, at 1012, 104 S. Ct.
         3457.

  Id. at 120, 125 S. Ct. at 1458 (emphases added).

         Here, Congress not only did not evidence any intent in the

  DD Act that a remedy under section 1983 is not available, it

  expressly provided that such a remedy is available.

         Given that the question of whether a remedy under section

  1983   does   not   even   arise   unless   Congress   intended     that   the

  statute provides a private right, Congress had no reason to

  include a provision in the DD Act expressly providing for a

  section 1983 remedy unless it also intended to include a private

  right in the Act.

         F.   The   implementing      regulation    of   the   DD      Act    is
         enforceable.

         45 C.F.R. section 1386.22(i) provides:

         If a system is denied access to facilities and its
         programs, individuals with developmental disabilities,
         or records covered by the Act it shall be provided
         promptly   with  a   written   statement  of   reasons,
         including, in the case of a denial for alleged lack of
         authorization, the name and address of the legal
         guardian, conservator, or other legal representative
         of an individual with developmental disabilities.

         With regard to this regulation, Defendants argue only: "A

  federal agency's regulations cannot independently create rights


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  enforceable in federal court." (Docket # 54 at 28). Defendants'

  two-sentence argument hardly informs the issue of whether HDRC

  may bring a claim pursuant this regulation.

        In Alexander v. Sandoval, 532 U.S. 275, 121 S. Ct. 1511,

  (2001), the United States Supreme Court explained the force and

  effect of regulations:

              We do not doubt that regulations applying § 601's
        ban on intentional discrimination are covered by the
        cause of action to enforce that section. Such
        regulations, if valid and reasonable, authoritatively
        construe the statute itself, see NationsBank of N.C.,
        N.A. v. Variable Annuity Life Ins. Co., 513 U.S. 251,
        257, 115 S. Ct. 810, 130 L. Ed. 2d 740 (1995); Chevron
        U.S.A. Inc. v. Natural Resources Defense Council,
        Inc., 467 U.S. 837, 843-844, 104 S. Ct. 2778, 81 L.
        Ed. 2d 694 (1984), and it is therefore meaningless to
        talk about a separate cause of action to enforce the
        regulations apart from the statute. A Congress that
        intends the statute to be enforced through a private
        cause     of   action    intends    the   authoritative
        interpretation of the statute to be so enforced as
        well.

  Id. at 284-286 (emphases added).

        Here, Defendants do not argue that section 1386.22(i) is

  not "valid and reasonable" or that it does not "authoritatively

  construe    the   statute    itself."    Indeed,    42   U.S.C.     section

  15043(a)(2)(I)(iii) provides that a P&A "shall have access to

  all records of":

        any individual with a developmental disability, in a
        situation in which--
        (I) the individual has a legal guardian, conservator,
        or other legal representative;




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        (II) a complaint has been received by the system about
        the individual with regard to the status or treatment
        of the individual or, as a result of monitoring or
        other activities, there is probable cause to believe
        that such individual has been subject to abuse or
        neglect;
        (III) such representative has been contacted by such
        system, upon receipt of the name and address of such
        representative;
        (IV) such system has offered assistance               to   such
        representative to resolve the situation; and
        (V) such representative has failed or refused to act
        on behalf of the individual[.]

  (Emphases added).

        In other words, before a P&A may have access to the records

  of an individual with a developmental disability who has a legal

  guardian, conservator, or other legal representative, the P&A

  must first contact the legal guardian, conservator, or other

  legal representative. As such, the regulation set forth in 45

  C.F.R. section 1386.22(i) is completely valid and reasonable and

  authoritatively construes the statute itself.

        Indeed, in Alabama Disabilities Advocacy Program v. J.S.

  Tarwater Development Center, 894 F. Supp. 424 (M.D. Ala. 1995),

  the court stated:

             The court agrees with the Fifth Circuit Court of
        Appeals that the Act requires "an 'effective' system
        of advocacy." Mississippi Protection & Advocacy System
        v. Cotten, 929 F.2d 1054, 1058-59 (5th Cir. 1991). Any
        other reading would attribute to Congress an intent to
        pass an ineffective law. The authority to investigate
        would mean nothing and advocacy in the form of
        investigation would be ineffective without access to
        records. Indeed, even if the Act did not mention
        records, a strong argument could be made that the


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        Advocacy Program would be entitled to all information
        necessary to investigate incidents of abuse and
        neglect if the prerequisites of a report or probable
        cause are met.

  Id. at 429 (emphases added).

        Here, even though the DD Act itself does not mention a

  P&A's access to the names and addresses of legal guardians,

  conservators, or other legal representatives, because the Act

  requires a P&A to first contact those persons, that information

  is   necessary   in   order    for   a    P&A   to    conduct   an   effective

  investigation into reports of incidents of abuse and neglect. As

  such, a P&A must be entitled to the information.

        G.   This Court has jurisdiction               over   HDRC's   state   law
        breach of contract claim.

  Defendants do not argue, nor could they, this Court did not

  properly   exercise    its    supplemental      jurisdiction     over   HDRC's

  pendant state law breach of contract claim. They do, however,

  argue that should the Court dismiss HDRC's federal claims, it

  must also dismiss the state law claim. In actuality, if the

  Court were to dismiss HDRC's federal claims pursuant to Federal

  Rule of Civil Procedure 12(b)(6), it need not also dismiss the

  state law claim: "[W]hen a court grants a motion to dismiss for

  failure to state a federal claim, the court generally retains

  discretion to exercise supplemental jurisdiction, pursuant to 28

  U.S.C. § 1367, over pendent state-law claims." Arbaugh v. Y&H

  Corp., 546 U.S. 500, 514, 126 S. Ct. 1235, 1244-45 (2006).


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  III. CONCLUSION

        Based   on   the   foregoing,   Plaintiff    respectfully     requests

  this Honorable Court to deny Defendants' motion to dismiss this

  action.

  DATED: September 5, 2007                   Shults & Tamm, LLP


                                             _/s/ Bradley R. Tamm______
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                                             BRADLEY R. TAMM

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                                             HAWAII DISABILITY RIGHTS
                                             CENTER




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